Case 2:09-cv-03255-CMR Document 1 Filed 07/22/09 Page 1 of 9
Case 2:09-cv-03255-CMR Document 1 Filed 07/22/09 Page 2 of 9
Case 2:09-cv-03255-CMR Document 1 Filed 07/22/09 Page 3 of 9
Case 2:09-cv-03255-CMR Document 1 Filed 07/22/09 Page 4 of 9
Case 2:09-cv-03255-CMR Document 1 Filed 07/22/09 Page 5 of 9
Case 2:09-cv-03255-CMR Document 1 Filed 07/22/09 Page 6 of 9
Case 2:09-cv-03255-CMR Document 1 Filed 07/22/09 Page 7 of 9
Case 2:09-cv-03255-CMR Document 1 Filed 07/22/09 Page 8 of 9
Case 2:09-cv-03255-CMR Document 1 Filed 07/22/09 Page 9 of 9
